Case:00-04659-GAC7 Doc#:1 Filed:04/20/00 Entered:04/25/00 00:00:00   Desc:
                   Converted from NIBS Page 1 of 30
Case:00-04659-GAC7 Doc#:1 Filed:04/20/00 Entered:04/25/00 00:00:00   Desc:
                   Converted from NIBS Page 2 of 30
Case:00-04659-GAC7 Doc#:1 Filed:04/20/00 Entered:04/25/00 00:00:00   Desc:
                   Converted from NIBS Page 3 of 30
Case:00-04659-GAC7 Doc#:1 Filed:04/20/00 Entered:04/25/00 00:00:00   Desc:
                   Converted from NIBS Page 4 of 30
Case:00-04659-GAC7 Doc#:1 Filed:04/20/00 Entered:04/25/00 00:00:00   Desc:
                   Converted from NIBS Page 5 of 30
Case:00-04659-GAC7 Doc#:1 Filed:04/20/00 Entered:04/25/00 00:00:00   Desc:
                   Converted from NIBS Page 6 of 30
Case:00-04659-GAC7 Doc#:1 Filed:04/20/00 Entered:04/25/00 00:00:00   Desc:
                   Converted from NIBS Page 7 of 30
Case:00-04659-GAC7 Doc#:1 Filed:04/20/00 Entered:04/25/00 00:00:00   Desc:
                   Converted from NIBS Page 8 of 30
Case:00-04659-GAC7 Doc#:1 Filed:04/20/00 Entered:04/25/00 00:00:00   Desc:
                   Converted from NIBS Page 9 of 30
Case:00-04659-GAC7 Doc#:1 Filed:04/20/00 Entered:04/25/00 00:00:00   Desc:
                   Converted from NIBS Page 10 of 30
Case:00-04659-GAC7 Doc#:1 Filed:04/20/00 Entered:04/25/00 00:00:00   Desc:
                   Converted from NIBS Page 11 of 30
Case:00-04659-GAC7 Doc#:1 Filed:04/20/00 Entered:04/25/00 00:00:00   Desc:
                   Converted from NIBS Page 12 of 30
Case:00-04659-GAC7 Doc#:1 Filed:04/20/00 Entered:04/25/00 00:00:00   Desc:
                   Converted from NIBS Page 13 of 30
Case:00-04659-GAC7 Doc#:1 Filed:04/20/00 Entered:04/25/00 00:00:00   Desc:
                   Converted from NIBS Page 14 of 30
Case:00-04659-GAC7 Doc#:1 Filed:04/20/00 Entered:04/25/00 00:00:00   Desc:
                   Converted from NIBS Page 15 of 30
Case:00-04659-GAC7 Doc#:1 Filed:04/20/00 Entered:04/25/00 00:00:00   Desc:
                   Converted from NIBS Page 16 of 30
Case:00-04659-GAC7 Doc#:1 Filed:04/20/00 Entered:04/25/00 00:00:00   Desc:
                   Converted from NIBS Page 17 of 30
Case:00-04659-GAC7 Doc#:1 Filed:04/20/00 Entered:04/25/00 00:00:00   Desc:
                   Converted from NIBS Page 18 of 30
Case:00-04659-GAC7 Doc#:1 Filed:04/20/00 Entered:04/25/00 00:00:00   Desc:
                   Converted from NIBS Page 19 of 30
Case:00-04659-GAC7 Doc#:1 Filed:04/20/00 Entered:04/25/00 00:00:00   Desc:
                   Converted from NIBS Page 20 of 30
Case:00-04659-GAC7 Doc#:1 Filed:04/20/00 Entered:04/25/00 00:00:00   Desc:
                   Converted from NIBS Page 21 of 30
Case:00-04659-GAC7 Doc#:1 Filed:04/20/00 Entered:04/25/00 00:00:00   Desc:
                   Converted from NIBS Page 22 of 30
Case:00-04659-GAC7 Doc#:1 Filed:04/20/00 Entered:04/25/00 00:00:00   Desc:
                   Converted from NIBS Page 23 of 30
Case:00-04659-GAC7 Doc#:1 Filed:04/20/00 Entered:04/25/00 00:00:00   Desc:
                   Converted from NIBS Page 24 of 30
Case:00-04659-GAC7 Doc#:1 Filed:04/20/00 Entered:04/25/00 00:00:00   Desc:
                   Converted from NIBS Page 25 of 30
Case:00-04659-GAC7 Doc#:1 Filed:04/20/00 Entered:04/25/00 00:00:00   Desc:
                   Converted from NIBS Page 26 of 30
Case:00-04659-GAC7 Doc#:1 Filed:04/20/00 Entered:04/25/00 00:00:00   Desc:
                   Converted from NIBS Page 27 of 30
Case:00-04659-GAC7 Doc#:1 Filed:04/20/00 Entered:04/25/00 00:00:00   Desc:
                   Converted from NIBS Page 28 of 30
Case:00-04659-GAC7 Doc#:1 Filed:04/20/00 Entered:04/25/00 00:00:00   Desc:
                   Converted from NIBS Page 29 of 30
Case:00-04659-GAC7 Doc#:1 Filed:04/20/00 Entered:04/25/00 00:00:00   Desc:
                   Converted from NIBS Page 30 of 30
